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            9
                 Attorneys for Defendant AT&T MOBILITY
          10     LLC
          11                         UNITED STATES DISTRICT COURT
          12                        CENTRAL DISTRICT OF CALIFORNIA
          13                                  WESTERN DIVISION
          14     SETH SHAPIRO,                          CASE NO. 2:19-CV-8972-CBM-FFM
          15                     Plaintiff,             JOINT STIPULATION TO SET
                                                        DEFENDANT’S TIME TO RESPOND
          16          v.                                TO PLAINTIFF’S FIRST AMENDED
                                                        COMPLAINT
          17     AT&T MOBILITY LLC,
          18                     Defendant.             First Amended Complaint Filed:
                                                               May 29, 2020
          19
                                                        Current Response Date:
          20                                                 June 12, 2020
                                                        New Response Date:
          21                                                 June 26, 2020
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                     JOINT STIPULATION TO SET DEFENDANT’S TIME TO RESPOND TO
Crutcher LLP                   PLAINTIFF’S FIRST AMENDED COMPLAINT
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            1      JOINT STIPULATION TO SET DEFENDANT’S TIME TO RESPOND TO
            2                      PLAINTIFF’S FIRST AMENDED COMPLAINT
            3          Pursuant to Local Rule 7-1, Plaintiff Seth Shapiro and Defendant AT&T Mobility
            4    LLC (“AT&T”), by and through their respective counsel of record, stipulate and agree
            5    as follows:
            6          WHEREAS, Mr. Shapiro filed his First Amended Complaint in this action on May
            7    29, 2020;
            8          WHEREAS, the current deadline for AT&T to answer or otherwise respond to
            9    Mr. Shapiro’s First Amended Complaint is June 12, 2020;
          10           WHEREAS, the parties have met and conferred regarding AT&T’s deadline to
          11     respond to Mr. Shapiro’s First Amended Complaint;
          12           WHEREAS, the parties agree that the deadline for responding to Mr. Shapiro’s
          13     First Amended Complaint should be set for June 26, 2020;
          14           WHEREAS, the parties have not requested any prior extensions to enlarge
          15     AT&T’s time to answer the First Amended Complaint;
          16           WHEREAS, the stipulation will not affect any deadlines fixed by the Court;
          17           IT IS HEREBY STIPULATED AND AGREED, by and between Mr. Shapiro and
          18     AT&T through their respective counsel of record, as follows:
          19                 1. The deadline for AT&T to respond to Mr. Shapiro’s First Amended
          20                   Complaint is June 26, 2020.
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                      JOINT STIPULATION TO SET DEFENDANT’S TIME TO RESPOND TO
Crutcher LLP                    PLAINTIFF’S FIRST AMENDED COMPLAINT
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            1    Dated: June 5, 2020
            2                                            MARCELLUS MCRAE
                                                         ASHLEY E. JOHNSON
            3                                            GIBSON, DUNN & CRUTCHER LLP
            4
            5                                            By: /s/ Ashley E. Johnson
                                                             Ashley E. Johnson
            6
                                                         Attorney for Defendant AT&T MOBILITY,
            7                                            LLC
            8
            9
                                                         ANDREW CALDERON
          10                                             PIERCE BAINBRIDGE BECK PRICE &
                                                         HECHT LLP
          11
          12
                                                         By: /s/ Andrew Calderon
          13                                                 Andrew Calderon
          14                                             Attorney for Plaintiff SETH SHAPIRO
          15
          16     I, Ashley E. Johnson, attest that all of the signatories listed, and on whose behalf the
          17     filing is submitted, concur in the filing’s content and have authorized the filing.
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                      JOINT STIPULATION TO SET DEFENDANT’S TIME TO RESPOND TO
Crutcher LLP                    PLAINTIFF’S FIRST AMENDED COMPLAINT
                                     Case No. 2:19-cv-8972-CBM-FFM
